65 F.3d 167
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Gary T. MOORE, Defendant-Appellant.
    No. 94-7501.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 1, 1995.Decided Sept. 6, 1995.
    
      Gary T. Moore, Appellant Pro Se.  Susan Lynn Watt, Charles Philip Rosenberg, OFFICE OF THE UNITED STATES ATTORNEY, Norfolk, Virginia, for Appellee.
      Before WIDENER and WILKINS, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying Appellant's motion for reduction of sentence pursuant to former Fed.R.Crim.P. 35(a).  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Moore, No. CR-88-16-NN (E.D.Va. Nov. 23, 1994).*  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         We find that Moore has timely appealed only from the district court's November 1994 order
      
    
    